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                            IN THE UNITED STATES DISTRICT COURT
                           FOR THE EASTERN DISTRICT OF NEW YORK


CENTRAL AMERICAN REFUGEE CENTER, LONG
ISLAND LANGUAGE ADVOCATES COALITION,
E.B., M.C., and V.A., on behalf of themselves and all       Case No. 2:23-cv-05412-NJC-ALR
others similarly situated,
                                                            PLAINTIFFS’ FIRSTSECOND
                                  Plaintiffs,
                                                            AMENDED CLASS ACTION
v.
                                                            COMPLAINT
NASSAU COUNTY, NASSAU COUNTY POLICE
DEPARTMENT, and PATRICK RYDER, in his official
capacity as Commissioner of Nassau County Police
Department, OFFICER JOHN DOE, head of the Internal
Affairs Unit of the Nassau County Police Department,
and SERGEANT SABRINA GREGG, Nassau County
Police Department Language Access Coordinator,

                                  Defendants.



            Plaintiffs CENTRAL AMERICAN REFUGEE CENTER – CARECEN (NY), LONG

     ISLAND LANGUAGE ADVOCATES COALITION, E.B., M.C., and V.A.,1 by and through

     their attorneys, LatinoJustice PRLDEF (“LatinoJustice”) and Dechert LLP (“Dechert”)

     respectfully allege as follows:




     1
      E.B., M.C., and V.A. intend to file a motion to proceed under pseudonyms pursuant to Sealed
     Plaintiff v. Sealed Defendant #1, 537 F.3d 185 (2d Cir. 2008).

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                                  PRELIMINARY STATEMENT

  1.     This civil rights action is brought on behalf of all Limited English Proficient (“LEP”)

  individuals who are, have been, or will be at risk of being subject to discriminatory treatment on

  account of their national origin and LEP status by the Nassau County Police Department

  (“NCPD”). Along with organizations Central American Refugee Center-NY and Long Island

  Language Advocates Coalition, named Individual Plaintiffs E.B., M.C., and V.A., on behalf of a

  class of all similarly situated individuals, bring this action to remedy the NCPD’s longstanding

  and continuing practice of discriminatory and unconstitutional conduct toward LEP individuals.

  2.     Ten years ago, Nassau County (the “County”) passed two executive orders requiring

  public-facing agencies to provide equal access to services for those with limited English

  proficiency. Ten years later, NCPD continues to deny LEP community members adequate

  translation and interpretation, equal access to NCPD services, and fair treatment under the law

  based on their national origin and LEP status.

  3.     This practice is in stark contrast to the County’s stated policy regarding language

  access—a stated policy that is not followed in practice and which officers can breach with

  impunity.

  4.     Plaintiffs are a non-profit organization serving Nassau County’s large and growing

  immigrant population, an unincorporated not-for-profit association that engages in education and

  advocacy to improve meaningful access to public programs and services on Long Island for LEP

  and sensory impaired individuals, and current and former residents of Nassau County who were



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  denied language assistance by NCPD. As demonstrated below, these are not isolated incidents,

  but part of a historical and continuing pattern of intentional discrimination and deliberate

  indifference towards the constitutional rights of Nassau County’s LEP community members.

  5.      Through this action, Plaintiffs seek declaratory and injunctive relief for Defendants’

  violations of federal and state law.

                                     JURISDICTION & VENUE

  6.      This court has subject-matter jurisdiction over Plaintiffs’ claims pursuant to 28 U.S.C.

  §§ 1331 and 1343(a)(3-4), as this action seeks redress for the violation of Plaintiffs’

  constitutional and civil rights.

  7.      Plaintiffs’ claims for declaratory and injunctive relief are authorized by 28 U.S.C.

  §§ 2201 and 2202 and Rule 57 of the Federal Rules of Civil Procedure.

  8.      This Court also has supplemental jurisdiction, pursuant to 28 U.S.C. § 1367, over

  Plaintiffs’ related claims arising under the New York State Constitution.

  9.      This court has personal jurisdiction over all Defendants as they are domiciled in New

  York, among other bases of personal jurisdiction.

  10.     Venue is proper within this Judicial District pursuant to 28 U.S.C. § 1391(b) because all

  or a substantial part of the events or omissions giving rise to the claims herein occurred in the

  Eastern District of New York.




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                                              PARTIES

  Plaintiffs

  11.    Plaintiff Central American Refugee Center – CARECEN (NY) (“CARECEN”) is a

  not-for-profit 501(c)(3) organization headquartered in Hempstead, Nassau County, New York.

  CARECEN is one of the largest immigration legal services providers on Long Island with the

  mission of empowering immigrant communities through legal services, community education,

  and advocacy. Almost all of CARECEN’s clients are LEP. CARECEN was founded in 1983

  with the mission of helping immigrants, particularly those of Central American origin fleeing the

  brutality of civil war in their countries of origin. Since that time, CARECEN has grown to be the

  largest Central American immigrant rights organization in the country.

  12.    Plaintiff Long Island Language Advocates Coalition (“LILAC”) is an unincorporated

  not-for-profit association operating throughout Long Island, New York. LILAC engages in a

  range of activities to improve service to underserved Long Island communities, especially those

  who experience language barriers. It hosts monthly meetings where members share updates on

  local resources and events, acquire new skills, and strategize regarding issues that impact

  immigrants, LEP communities, and people with vision and hearing challenges. LILAC hosts

  conferences and trainings regarding best practices in language access and serves as a resource to

  organizations seeking to improve their language access policies and practices. LILAC has also

  engaged in collaborative research and writing projects in partnership with other local community

  organizations, including numerous rounds of language access testing of Nassau and Suffolk



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  County agencies and departments to measure their successes and deficiencies. Where issues have

  been identified, LILAC engages in advocacy with the heads of various departments to work

  together for improvements.

  13.    Plaintiff E.B. is a LEP, of Latin American origin, adult resident of the County of Nassau,

  State of New York who was denied language access on at least two separate occasions by NCPD

  in September 2023.

  14.    Plaintiff M.C. is a LEP, of Latin American origin, adult resident of the County of Queens,

  State of New York and who was denied language access services on at least two separate

  occasions by NCPD when she was a resident of Nassau County between 2014 and 2022. She and

  her child are frequently present in Nassau County, where the father of her child lives and who

  has partial custody of her child.

  15.    Plaintiff V.A. is a LEP, of Latin American origin, adult resident of the County of Queens,

  State of New York and who was denied language access services by NCPD when she was a

  resident of Nassau County between 2020 and 2021.

  16.    Individual Plaintiffs E.B., M.C. and V.A. bring this action on behalf of themselves and as

  representatives of the Class of all similarly situated Limited English Proficient individuals who

  are, have been, or will be at risk of being subject to discriminatory treatment and unconstitutional

  denials of assistance by NCPD.

  Defendants




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  17.    Defendant Nassau County is a county within the state of New York. Pursuant to the

  Municipal Home Rule Law, Nassau County is authorized to issue a county charter that provides

  for the “agencies or officers responsible for the performance of the functions, powers and duties

  of the county.” N.Y. MHR Ch. 36-1, Art. Part 1 § 33(3)(b). Nassau County is ultimately

  responsible for the Nassau County Police Department and therefore liable for injuries to

  Plaintiffs and members of the class caused by the policies and practices set forth below.

  18.    Defendant Nassau County Police Department (“NCPD”) was established by Article VII,

  Section 801 of the Nassau County Charter that was passed in accordance with the Municipal

  Home Rule Law. NCPD is headquartered at 1490 Franklin Avenue, Mineola, NY, 11501, in

  Nassau County. NCPD operates eight precincts. NCPD has established the policies and practices

  that led to Plaintiffs’ and class members’ injuries.

  19.    Defendant Patrick Ryder is, and at all times relevant to the Complaint was, the

  Commissioner of the Nassau County Police Department and serves as NCPD’s chief policy

  officer, responsible for the policies of NCPD. He is and was, at all relevant times herein,

  responsible for the hiring, screening, training, retention, supervision, discipline, counseling, and

  control of the police officers under his command who are or were employed by NCPD, including

  the individual defendants named herein. Defendant Ryder’s official actions are the direct and

  proximate causes of the injuries to Plaintiffs and evinced a deliberate indifference to Plaintiffs’

  legal rights. He is sued in his official capacity for actions that he undertook under color of state

  law.



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  20.     Defendant Officer John Doe is, and at all times relevant to the Complaint was, the head

  of the Internal Affairs Unit for NCPD and serves as the chief policy officer with regard to

  internal investigations and discipline of NCPD officers. He is and was, at all relevant times

  herein, responsible for developing policies regarding the investigation, discipline, counseling,

  and control of police officers who are or were employed by NCPD. Defendant Officer John

  Doe’s official actions are the direct and proximate causes of the injuries to Plaintiffs and evinced

  a deliberate indifference to Plaintiffs’ legal rights. He is sued in his official capacity for actions

  that he undertook under color of state law.

  21.     Defendant Sergeant Sabrina Gregg is the designated Language Access Coordinator for

  NCPD. As such, she is responsible for supervising NCPD’s Language Access plan, instituting

  measures to monitor the success of the plan, and reviewing and updating the plan on a

  semi-annual basis. She is the chief policy officer for NCPD with regard to the implementation,

  monitoring, training, and modification of the Language Access Plan. Defendant Gregg’s official

  actions are the direct and proximate causes of the injuries to Plaintiffs and evinced a deliberate

  indifference to Plaintiffs’ legal rights. She is sued in her official capacity for actions that she

  undertook under color of state law.

  22.     Nassau County and NCPD have been recipients of millions of dollars of federal funds

  during the relevant period.




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                                      STATEMENT OF FACTS

                                              Background

  23.    According to the most recent U.S. Census, Nassau County is home to over 418,000

  residents (30%) over 5 years old that speak a language other than English at home.

  Approximately 22.4% of County residents—almost 310,000 people—are foreign born. In the

  past two decades, Nassau County’s population growth has been fueled almost entirely by

  immigrants, a significant percentage of whom are Latino and who have immigrated from

  countries in Central and South America. Long Island is also home to large East Asian and South

  Asian populations, as well as a growing Haitian refugee population.

  24.    Nassau County Police Department is one of the largest police departments in the country.

  However, the diversity of its personnel does not reflect the communities it serves. While over

  40% of Nassau County identifies as non-White, only 13.2% of NCPD’s police force identifies as

  either Black, Latino, Asian, or “other.”

  25.    For years, Defendants have engaged in, and are continuing to engage in, a pattern and

  practice of discriminatory and unconstitutional conduct toward the growing population of LEP

  and foreign-born individuals in Nassau County.

  26.    Encounters with law enforcement agents frequently involve unfamiliar or intimidating

  situations. Even for individuals who speak, read, or understand some English, they may still have

  trouble understanding complex forms and instructions or explaining themselves proficiently,

  particularly during a time of crisis or enhanced stress.



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  27.    Failure to provide interpretation and translation services in this context prevents

  individuals from receiving emergency assistance, obtaining an order of protection, reporting a

  crime, and effectively communicating with police in a range of circumstances. Denials of

  language assistance by law enforcement agencies also have a traumatizing effect, for instance,

  where children are used as interpreters.

  28.    In 2000, the U.S. Department of Justice affirmed that recipients of federal funds have an

  obligation to provide meaningful access to services to individuals with limited English

  proficiency and that an agency’s willful failure to do so constitutes national origin

  discrimination. See DOJ Enforcement of Title VI of the Civil Rights Act of 1964—National

  Origin Discrimination Against Persons With Limited English Proficiency; Policy Guidance, 65

  Fed. Reg. 50123 (Aug. 16, 2000). Presidential Executive Order 13166 (August 11, 2000) also

  directs all federally funded agencies to take steps to ensure that LEP individuals have access to

  their programs and services.

  29.    Ten years ago, then-Nassau County Executive Edward Mangano issued two executive

  orders (as discussed below) requiring county agencies to offer equal access to services for LEP

  individuals.

  30.    To date, despite the longstanding knowledge of their obligations under both local and

  federal law, Defendants have continued to engage in intentional discrimination against LEP

  individuals based on their perception that non-native English speakers are foreign born and not

  American.



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    NCPD’s Pattern and Practice of Discriminatory and Unconstitutional Conduct Towards
    LEP Individuals Directly Harmed and Continues to Harm Individual and Organizational
                                         Plaintiffs

                                  Organizational Plaintiff CARECEN

   31.    For more than forty years, CARECEN has provided a range of services to immigrant

   community members, including legal representation in immigration proceedings and

   applications, English language education, and social work services for recently arrived

   immigrants. Almost all of CARECEN’s clients are LEP and the majority come from countries in

   Central America.

   32.    Because of NCPD’s pattern and practice of discriminatory and unconstitutional conduct

   toward LEP individuals in Nassau County, CARECEN has repeatedly diverted time and

   resources away from its regular activities to assist clients who have been denied linguistically

   appropriate services by NCPD.

   33.    CARECEN staff repeatedly must help clients to problem solve after language access

   denials and spend time locating and communicating with outside assistance to help clients file

   complaints against NCPD.

   34.    For example, as recently as April 2023, CARECEN represented a client who was denied

   interpretation during a domestic dispute and when he tried to call a friend to help interpret for

   him, NCPD officers took his phone away. Such incidents are not isolated, but frequently arise

   and create significant challenges for CARECEN during the course of its representation of

   approximately one thousand immigrant community members each year.



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                                     Organizational Plaintiff LILAC

   35.    Since 2010, LILAC has engaged in education and advocacy to improve and promote

   equal access to programs and services, including health care, education, social services, housing,

   law enforcement, and the court system for persons with limited English proficiency or with

   sensory impairments.

   36.    LILAC engages in a range of activities. It hosts monthly meetings where members share

   updates on local resources, events, information, and developments that impact immigrants, LEP

   communities, sensory impaired communities, and particular advocacy communities such as

   health care and social services providers on Long Island. It hosts member-focused educational

   events where members can network, connect, and share knowledge and training on topics of

   interest, as well as community-facing events where community members can learn about

   available services in their areas. It has also engaged in collaborative research and writing projects

   in partnership with other local community organizations, including numerous rounds of language

   access testing of Nassau and Suffolk County agencies and departments.

   37.    LILAC’s language access testing and advocacy initially covered the full range of Long

   Island government agencies and departments, including social services, veteran’s affairs,

   consumer affairs, health, labor and housing and development agencies.

   38.    In recent years, the group has had to increase its focus on lack of language access to

   Nassau County police services due to reports and requests for assistance from community

   members about denials of assistance by the NCPD on account of their LEP status.



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   39.      Most recently, in 2022, LILAC conducted ninety-four language access phone test calls

   covering all eight NCPD precincts and headquarters, finding that NCPD failed to provide

   language assistance almost half of the time.

   40.      Over the years, LILAC has received referrals and requests for assistance from community

   members who were denied assistance by public agencies. LILAC has assisted some of these

   individuals in filing administrative complaints.

                                         Individual Plaintiff E.B.

   41.      Plaintiff E.B. is a native Spanish language speaker of Latin American origin. She does

   not read, write, or understand English aside from basic terms.

   42.      E.B. currently resides in Uniondale, NY and has resided in Nassau County for eight

   years.

   43.      On or about September 1, 2023, the owner of the home she subleased cut off the

   electricity in the home.

   44.      E.B. reached out to the sublessor who connected with the electricity company. He was

   informed by the electric company that they had an order to cut off the electricity in the home by

   September 1, 2023, and could not turn it back on until the renter could provide an updated signed

   lease.

   45.      The sublessor visited the home with an English-speaking friend to assist E.B. Upon

   arriving, the English-speaking friend contacted NCPD and acted as an interpreter.




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   46.     An officer arrived at the home and the friend assisted as an interpreter between E.B. and

   the officer. The officer informed her that they could not do anything. Her only option was to go

   to court.

   47.     E.B. reached out to an eviction prevention organization in Long Island for assistance and

   was informed this was considered an illegal eviction. She was advised to visit the police precinct

   for assistance in filing a criminal complaint.

   48.     Under New York State Law, it is a criminal misdemeanor to illegally evict a resident,

   including by turning off their utilities.

   49.     On or about September 1, 2023, E.B. visited the NCPD’s First Precinct in Baldwin, N.Y.

   to report the illegal eviction.

   50.     E.B. visited the precinct with her two minor children, the sublessor, and an

   English-speaking friend.

   51.     Upon her arrival, E.B. asked the officer for an interpreter because she wanted to make a

   criminal complaint. The friend communicated with the officer and explained E.B. wanted an

   interpreter because she did not speak English and wanted to ensure she was able to fully explain

   her issue and understand what was communicated by the officer.

   52.     The officer declined to provide an interpreter despite E.B.’s repeated request. The Officer

   stated that E.B. had a friend who could speak English and Spanish. When E.B. again requested

   an interpreter, the officer stated it was not necessary because it would be “too slow,” “too costly”

   and “too difficult” and it would be easier if her friend just translated.



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   53.    Due to NCPD’s refusal to provide an interpreter, E.B.’s friend was forced to serve as an

   interpreter between the officer and E.B.

   54.    The officer communicated with the owner’s wife who first stated she would stop by and

   then called back to inform that she would not come in and the electricity would not be turned

   back on until a new lease was signed with a higher rent and security deposit.

   55.    E.B. asked if she could file a criminal complaint against the homeowners but was denied.

   Because of NCPD’s refusal to hear or assist her, she was unable to file a criminal complaint with

   the police department or otherwise have her complaint heard.

   56.    On or about September 3, 2023, the home was condemned as uninhabitable. A notice was

   left on the home informing E.B. she had to leave the home in 2 days.

   57.    On or about September 5, 2023, a town inspector and the homeowner visited the home.

   The firefighters and police were called.

   58.    Officers from NCPD arrived and informed E.B. she had to vacate the home. She

   repeatedly asked the officers for an interpreter and her requests were ignored. The officers only

   communicated, in English, that she had to leave. E.B. did not receive any further assistance or

   communication from NCPD regarding her illegal eviction.




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                                       Individual Plaintiff M.C.

   59.    Plaintiff M.C. is a native Spanish language speaker of Latin American origin. She does

   not read, write, or understand English aside from basic terms.

   60.    M.C. currently resides in Queens, New York and was a resident of Nassau County

   between 2014 and 2022.

   61.    M.C. still frequents Nassau County for child visitations between her daughter and former

   partner.

   62.    The first time M.C. contacted NCPD was in September 2020.

   63.    During a domestic dispute with her partner, M.C. found explicit photos and

   communications between him and other women on his phone. When M.C. tried to take the cell

   phone, M.C.’s partner pushed her up against a chair.

   64.    M.C. contacted the police. Upon their arrival, they entered the home and began to speak

   in English. Despite being unable to communicate in English, she was not offered any

   interpretation services.

   65.    M.C. called her son by phone and ask him to speak to the officers in English for her. He

   was unable to do so as he was at work.

   66.    The officers attempted to communicate with M.C. but once they realized she could not

   speak English, they turned to her partner to communicate with him about the incident.

   67.    The officers communicated exclusively with M.C.’s partner and she was unable to

   communicate the physical altercation that took place.



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   68.    After communicating with her partner, the officers left the home. No one followed up to

   discuss the incident with her directly or assess her safety. NCPD did not provide M.C. with any

   paperwork regarding the incident.

   69.    On July 4, 2022, M.C. contacted the police regarding a second domestic dispute.

   70.    Again, M.C. and her partner engaged in a physical altercation over his cellphone and

   messages she had seen of him communicating with another woman.

   71.    M.C. attempted to grab the phone when she was then shoved against a wooden chair in

   their bedroom and then up against the wall. M.C. walked away from the altercation with

   scratches on her arms, neck, back and both hands, bruises on her leg and a nosebleed. M.C. was

   also recovering from breast surgery and realized the incision areas were also bleeding.

   72.    M.C.’s seven-year-old daughter entered the room demanding that her dad stop hitting

   M.C. M.C.’s daughter proceeded to grab her tablet and began recording the altercation. Once

   M.C.’s partner saw their daughter recording, he stopped trying to engage with her.

   73.    M.C. called 911 and began to speak in Spanish and then in limited English exclaimed

   “Help me, Help me.” She added, “No English, Speak Spanish” but the operator continued to

   communicate in English. She passed the phone to her young daughter who had to explain the

   incident and provided their home address.

   74.    Thereafter, NCPD officers arrived at the home and again M.C. tried to communicate that

   she did not speak English. The officers eventually called for a Spanish speaking officer.




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   75.     While waiting for the Spanish speaking officer to arrive, the officers began to

   communicate with M.C.’s seven-year-old daughter in English about the incident. M.C. could not

   understand the questions her child was asked or what responses were provided.

   76.     Once the Spanish speaking officer arrived, M.C. began to explain what occurred. M.C.

   asked the officer to provide her with a document or report to use against her husband and prevent

   him from physically attacking her. The Spanish speaking officer concluded with “We’ll see what

   we do.”

   77.     While the Spanish speaking officer spoke with M.C.’s partner, she sat downstairs and

   was eventually. Eventually, she was signaled by one of the English-speaking officers to come

   over to the table and was told that she needed to sign a document. The officer did not

   communicate the contents of the document prior to or after signing. The Spanish speaking officer

   had left and did not assist in translating the document.

   78.     Eventually, M.C. sought outside assistance to obtain a translation of the police report and

   realized the report failed to detail her injuries, including the visible marks left on her face and

   body.

   79.     M.C. decided to file a complaint against the police department for failure toto request that

   they correct the inaccuracies in the report, improve their treatment of survivors of domestic

   abuse, and provide adequate language assistance during the domestic violence incident.

   Usingincidents. M.C. filed her complaint using NCPD’s online complaint portal for filing

   complaints and with assistance from a local non-profit, M.C. filed a complaint against NCPD.



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   While she received a complaint number, no one from NCPD ever followed up with her and she

   is not aware of any investigation regarding her complaint.

   80.     Because she never received a response, she was unable to make an accurate police report.

                                         Individual Plaintiff V.A.

   81.     80. Plaintiff V.A. is a native Spanish language speaker of Latin American origin.

   82.     81. On July 19, 2020, she contacted NCPD after her landlord changed the locks to the

   apartment.

   83.     82. At the time the locks were changed V.A. was inside the home with her children.

   There was no pending eviction case.

   84.     83. V.A. called 911 and in Spanish requested an interpreter. After a brief hold, an

   interpreter joined the call. She explained the incident and was informed officers would come to

   the home.

   85.     84. A few moments later, two officers from NCPD’s Third Precinct, Post 321 arrived at

   the home. Since V.A. had just informed the 911 operator of her need for interpretation services,

   she assumed the officers would be aware she did not speak English.

   86.     85. One of the officers approached V.A. and began to communicate in English. V.A.

   responded by requesting a “translator” to which the officer responded “No, this is the United

   States of America, we speak English in the United States.”

   87.     86. V.A. exclaimed in Spanish that she was aware of her rights and again continued to

   ask for an interpreter to no avail.



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   88.    87. V.A. recorded this interaction on a camera she had previously installed because the

   landlord had been entering the home without her knowledge.

   89.    88. After approximately 20 minutes of asking for an interpreter, V.A. called 911 again

   and informed them that the officers had not provided her with an interpreter. It was not until her

   second call to 911 that an interpreter was provided.

   90.    89. The officers never took down a report or handed her any paperwork.

   91.    90. After the incident, V.A. decided to file a complaint against the officer.

   92.    91. On multiple different occasions, V.A. went to the precinct where she believed the

   officer was assigned and was told it was not the correct place to make a complaint. She was

   never provided guidance about where or how to file a complaint against the officer.

   93.    92. With help from LILAC, on or about September 28, 2020, V.A. was able to file a

   complaint via the NCPD website, translated through Google Translate. V.A. subsequently

   received one phone call from NCPD where she was asked to restate what occurred during the

   interaction with NCPD. At the conclusion of the call, she was informed that she would receive a

   follow-up call. However, she never received any further follow-up from the department. She was

   never able to provide additional evidence or receive confirmation as to what if any disciplinary

   steps were taken by NCPD.




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    Defendants’ History of Discriminatory Treatment of LEP Individuals in Nassau County

                       NCPD Has Failed to Provide Language Access for Years

   94.    93. In 2013, then-Nassau County Executive Mangano issued two executive orders on

   language access, which remain in effect until this day. The first of Nassau County’s two

   executive orders on language access was significantly more limited in scope than the County had

   originally represented to community-based organizations and, as a result, was met with immense

   disappointment and opposition by advocates and LEP community members. The lackluster order

   – Executive Order 67 (“EO 67”), issued in July 2013 – was limited to the requirement that

   county agencies make available on the County website translations of “vital documents” in the

   County’s six most common non-English languages, assign a Language Access Coordinator, and

   develop a language access plan. But it was silent on other critical requirements needed to comply

   with federal law, including competent telephonic and in-person interpretation, training

   requirements, translation of signage, and data collection and reporting requirements. A true and

   accurate copy of the Executive Order 67-2013 is attached hereto as Exhibit 1.

   95.    94. After sustained pressure from advocates, including phone calls, emergency meetings,

   and word of an imminent public campaign, on August 15, 2013, then-County Executive

   Mangano signed a second executive order—Executive Order 72 (“EO 72”)—to address the

   deficiencies in the original EO 67. EO 72 provides that each public-facing Nassau County

   agency publish a language access plan, provide competent in-person and telephonic

   interpretation services, provide the Deputy County Executive with a list of all competent



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   bilingual employees, provide employee training on the department’s language access plan, and

   issue a public notice of language access services. EO 72 also prohibits county employees from

   using a request for language services as a basis for inquiring into confidential information

   relating to immigration status. A true and accurate copy of EO 72-2013 is attached hereto as

   Exhibit 2.

   96.    95. Since 2013, despite countless attempts by community-based advocates to work with

   Defendants to implement the promises of the executive orders, there has been little meaningful

   progress made. The County’s promises have rung hollow.

   97.    96. For instance, after the signing of EO 67 and EO 72, community-based advocates and

   organizations made numerous attempts to contact the Nassau County Executive Office to inquire

   about the status of implementation. Each time, they received an insufficient response or no

   response. Advocates also launched numerous campaigns and rallies highlighting Defendants’

   noncompliance with federal law and the executive orders.

   98.    97. As reported by Newsday in July 2014, one member of the Long Island Civic

   Engagement Table remarked “this shows without a doubt that Nassau County has failed to meet

   its own language access policy.” See Paul Larocco, “Nassau Faulted on Language Services,”

   Newsday, Aug. 18, 2014.

   99.    98. For years, NCPD has issued paper polices that profess to offer language access that in

   practice is not provided. The most recent such plan is the 2023 NCPD Language Access Plan

   (“the Plan”).



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   100.    99. A true and accurate copy of the Plan is attached as Exhibit 4 (NCPD OPS 3132) and

   Exhibit 5 (NCPD Language Access Plan 2023 PowerPoint).

   101.    100. Defendant Domestic Liaison Officer Detective Sergeant Sabrina Gregg is designated

   as NCPD’s Language Access Coordinator (LAC). As LAC Defendant Gregg is charged with

   supervising and monitoring the Plan.

   102.    101. The Plan does not adequately ensure that language access is provided to those who

   request or need language assistance in Nassau County. Even if it were implemented as it is

   written, in practice, NCPD makes no effort to enforce the Plan.

   103.    102. The Plan allows NCPD “bilingual” personnel to self-assess their language

   proficiency. NCPD does not have an objective practice or procedure in place to test whether its

   officers are truly competent in a foreign language.

   104.    103. The Plan does not ban NCPD personnel from using family members, friends, or

   passersby as interpreters unless the person (a) has a personal interest in the situation, (b) for

   admissions, confessions, or sworn statements, or (c) is the perpetrator of a domestic incident and

   would be translating for the alleged victim or complainant. The Plan only bans the use of minor

   children as interpreters in a “high stress situation.”

   105.    104. The Plan does not ban NCPD personnel from inquiring into a person’s confidential

   information relating to immigration status if the person is charged with a crime.

   106.    105. The Plan instructs NCPD personnel to say “un momento” to an LEP caller,

   regardless of whether the caller is a Spanish speaker.



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   107.    106. NCPD currently uses a phone-based service called “Language Line” that gives

   officers access to an interpreter in over 250 languages. Based on information and belief, NCPD

   started implementing the use of Language Line in or around October 2018.

   108.    107. Based on information and belief, the only language access data collected by the

   NCPD is the number of times Language Line is affirmatively used by NCPD personnel. NCPD

   does not appear to collect or report data on the number of times officers fail to use Language

   Line.

   109.    108. Based on information and belief, NCPD does not collect or report data on the

   number of times community members request language assistance.

   110.    109. NCPD does not appear to collect or report data on the number of times community

   members file a complaint relating to the denial of language access services. In response to FOIL

   requests, NCPD has not produced any documents or statistics relating to complaints for failure to

   provide language access.

   111.    110. As set forth below, NCPD officers do not, in practice, follow the Plan. And

   Defendants do not expect them to or seek to hold them accountable when they do not.

   112.    111. NCPD officers do not follow the Plan because Defendants do not require them to.

   The policies and practices of NCPD, the County, and the Individual Defendants have resulted in

   a widespread informal policy that compliance with the Plan is entirely voluntary.




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   113.   112. NCPD moreover does not investigate complaints of failure to provide language

   access and does not discipline officers even when presented with evidence that officers violated

   the Plan and did not provide language access.

   114.   113. Plaintiffs have filed complaints with NCPD’s Internal Affairs Unit and have set

   forth specific incidents of failure to provide language access—including an incident in which the

   complainant was willing to provide video evidence of an officer refusing to provide language

   access—and have received no investigative follow-up or response. The NCPD never saw the

   video because they denied the complainant an opportunity to file a complaint in person and

   correspondingly never investigated after she filed a complaint online.

   115.   114. Instead, as described below, Defendant Ryder has stated he is not aware of any

   complaints and pre-emptively cleared his officers of wrongdoing by stating “I don’t believe my

   officers acted that way.”

   116.   115. In fact, Defendants simply ignored the many complaints they received.

   117.   116. By publicly stating that no complaints existed, and no officer had failed to provide

   language access—statements that Defendant Ryder knew were untrue when he made

   them—NCPD sent a clear message to its officers. Compliance with the Plan is entirely optional

   and any officer who chooses not to provide language access is free to do so without

   repercussions.




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   118.   117. Each Plaintiff has been denied language access by NCPD officers and has sought to

   have the officer who denied language access investigated or otherwise held accountable. Their

   complaints have gone unanswered, uninvestigated, and unheard.

   119.   118. NCPD personnel not only fail to provide language services, but on some occasions

   actively mock and humiliate LEP individuals who request such services as well as the advocates

   who have brought language access problems to their attention.

   120.   119. Instead of using appropriate Language Line services, NCPD officers have used

   minor children as interpreters during domestic violence disputes.

   121.   120. The immigrant communities served by CARECEN are particularly vulnerable to

   NCPD’s unlawful practices, which leave them unable to communicate with police in emergency

   situations, to get the protection they need, to file police reports, and to obtain medical assistance.

   122.   121. Individual Plaintiffs E.B., M.C., and V.A., and the community members that

   Organizational Plaintiffs CARECEN and LILAC serve, have suffered various injuries from

   NCPD’s failure to provide language access:

         they were asked to sign summaries of interviews they do not understand;

         they were not provided with the proper resources and assistance during domestic violence

          incidents and illegal evictions;

         their children were forced to interpret leading to traumatization and inaccurate reports;

         they were denied assistance when calling for help; and

         they were told that this is all their fault: “This is the United States. We speak English.”


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   123.   122. These actions by NCPD officers constitute the NCPD’s real language access

   policy—one in which any officer can deny any person language access with complete impunity.

    Years of Language Access Testing Show NCPD Willfully Denies Assistance to LEP Individuals

   124.   123. One Year after the issuance of EO 67 and 72, volunteer advocates led by LILAC

   began language access testing of county agencies, including the NCPD. The reports of these

   initial audits were made public in August 2015, in a report co-authored by LILAC, Health and

   Welfare Council of Long Island, and Long Island WINS. The report, titled Language Access

   Denied: Ed Mangano’s Broken Promise to Nassau County, details the history of local advocates’

   efforts to improve language access on Long Island, as well as the results of volunteer audits

   conducted in August 2014, April 2015, and July 2015. A copy of the report is attached hereto as

   Exhibit 3.

   125.   124. August 2014 Testing: As detailed in Language Access Denied, in August 2014,

   volunteers conducted language access testing through phone calls, checking websites, and

   in-person visits to five Nassau County agencies: Department of Social Services, Department of

   Health, Department of Human Services, Probation Department, and the NCPD. NCPD, along

   with all other audited agencies, was found to be deficient in providing language assistance.

   Advocates issued the county a failing grade in complying with its own executive orders. See Ex.

   3, Appendix 2.

   126.   125. April 2015 Testing: In April 2015, volunteers conducted another round of testing of

   several Nassau County agencies, including Office for the Aging, Consumer Affairs, Minority



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   Affairs, Housing and Community Development, Veterans Services, Social Services, Fire

   Commission, NCPD headquarters, and all NCPD precincts. Volunteers for the April 2015 testing

   spoke Mandarin Chinese, Spanish, Korean, Haitian Creole and Russian. The volunteers called

   the agencies and requested language assistance by stating the language they were seeking, for

   example, “Spanish?” No false reports or requests for emergency assistance were made. Again,

   NCPD was found to be deficient in its provision of language assistance.

   127.   126. During the audit, volunteer test callers were disparaged on account of their

   perceived national origin and LEP status. For example, one Spanish speaking caller to NCPD,

   who was unable to receive any assistance, was told, in English “If problema, you have to call

   911.” Another female Spanish-speaking volunteer caller to the First Precinct was degradingly

   referred to as “Mami” by a male NCPD officer. The officer then proceeded to intimidate her,

   asking where she lived, how many years she had lived in this country, and why she did not

   speak English. Not a single caller was immediately transferred to a professional interpreter.

   128.   127. In addition to the calls, in April 2015, volunteer auditors also made in-person visits

   to five of NCPD’s eight police precincts and police headquarters. Auditors reported that not a

   single location had signs posted informing the public of the availability of an interpreter, and the

   only sign posted in Spanish pertained to drug abuse.

   129.   128. Apprised of these ongoing issues, on June 10, 2015, six Nassau County legislators

   wrote a letter to the County Executive stating they were “deeply troubled that the County is not

   enforcing implementation of Executive Orders 67 and 72 and that its agencies are not providing



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   adequate interpretation and translation services or translation of vital documents into the six

   most frequent languages, as promised.” The legislators also expressed their embarrassment that

   the County Executive “has repeatedly refused to meet with [community-based organizations] to

   discuss problems with implementation of the Orders and the resulting disservice to our

   constituents.” Exhibit 3, at Appendix 1.

   130.   129. July 2015 Testing: In July 2015, volunteers conducted another audit in Spanish,

   finding continued deficiencies in every police precinct. Spanish-speaking callers were unable to

   obtain any assistance from NCPD precincts 1, 2, 3, 4, and 7 and police headquarters.

   131.   130. In August 2015, after learning of the results of the volunteer audits, the NCPD

   arranged for a meeting with language access advocates. During the meeting, they acknowledged

   that there were deficiencies which needed to be addressed and promised to implement changes.

   While some changes were made to NCPD’s paper policy and the rollout of a telephonic

   interpretation system “Language Line”, there have not been meaningful agency-wide

   improvements in practice and NCPD’s language access denials and hostility towards LEP

   community members has continued unchecked.

   132.   131. LILAC has continued to participate in volunteer language access testing of NCPD

   almost annually.

   133.   132. 2017 Testing: In 2017, LILAC found that NCPD only provided successful

   assistance in 1 out of 20 calls. LILAC shared the results with then-County Executive Laura

   Curran who acknowledged at a public meeting that the County was “not where [it] should be on



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   language access.” See The People’s Plan: Reimagining Policing and Public Safety on Long

   Island at 239 (February 19, 2021),

   https://www.liunited.org/_files/ugd/2eb0a3_ef9104dd53c34bedb390743badd17fb9.pdf

   (hereinafter “The People’s Plan”).

   134.   133. March 2019 Testing: In 2019, LILAC found that NCPD only provided language

   assistance (via transfer to Language Line) in 3 out of 19 calls. In numerous calls testers were

   dismissed with statements such as “No speak Spanish, no interpreter,” “wrong number,” or

   “You have to call 911, we don’t have an interpreter.”

   135.   134. Following the 2019 testing, LILAC met with NCPD Commissioner Ryder, Sergeant

   Gregg, and other NCPD staff who were made aware of the results of the test calls. During the

   meeting, Commissioner Ryder became hostile and threw LILAC members out of the meeting.

   See The People’s Plan at 239. LILAC followed up with a letter outlining the group’s concerns.

   Although NCPD was made aware of the findings, it refused to take any meaningful action.

   136.   135. August 2020 Testing: In 2020, test callers conducted another round of calls in

   Spanish and were only able to obtain assistance in 12 out of 21 calls. Several test callers reported

   rude or inappropriate comments. For example, when a test caller asked in Spanish whether a

   landlord could evict a tenant without taking the tenant to court, an officer of the NCPD Eighth

   Precinct told the caller to get a job and pay the rent.

   137.   136. February-April 2022 Testing: Between February and April 2022, the New York

   Immigration Coalition (“NYIC”) and LILAC conducted additional testing to determine NCPD’s



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   compliance with the Language Access Plan. A report they issued, “Unprotected and Unheard,”

   which outlines their findings is attached as Exhibit 6.

   138.      137. In 2022, volunteers conducted an audit of all eight NCPD precincts and police

   headquarters, seeking assistance in Spanish for non-emergency questions designed to assess

   whether NCPD would accommodate non-English speaking callers in a timely and professional

   manner and comply with the Plan by connecting the caller to a fluent bilingual officer or a

   professional interpreter, such as through Language Line. In total, seven volunteers made

   ninety-four calls requesting information in Spanish. The testers were unable to obtain language

   assistance or get the requested information 44 times (46.8% failure rate). In the eight calls made

   to NCPD headquarters none of the testers were provided with help in the language requested.

   139.      138. Testers also recorded contemporaneous notes about their experience on a

   spreadsheet. Numerous testers noted being hung up on after rude, impatient, or hostile treatment

   from NCPD officers. Several officers did not know how to use Language Line or did not try to

   use it at all. In some cases, callers felt intimidated by officers who insisted that the caller give

   them personal information or appear in person at the precinct in order to receive service. Some

   officers who spoke Spanish poorly attempted unsuccessfully to speak to callers in Spanish

   instead of connecting them to a professional interpreter through Language Line. In cases where

   testers did receive help from bilingual officers, they reported having more positive interactions.

   140.      139. NCPD was made aware of the findings of the report and failed to take meaningful

   action.



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   141.   140. On September 27, 2022, representatives from LILAC and LatinoJustice attended a

   Hispanic Heritage Month event at the NCPD Training and Intelligence Center in Uniondale. In

   responding to the 2022 auditing and report by LILAC and NYIC, NCPD personnel including

   Sergeant Gregg responded defensively to advocates, suggesting they were “disingenuous,”

   questioned the “veracity” of advocates’ reports of language access failures, and concluded

   “obviously we’re on two different pages here.” NCPD personnel repeatedly made reference to

   the number of times Language Line was affirmatively used but could not or would not confirm if

   NCPD would take steps to assess its failure rate.

   142.   141. As advocates pointed out, no Spanish interpretation was offered or made available at

   the Hispanic Heritage Month event.

   143.   142. On October 6, 2022, Defendant Ryder spoke before the Nassau County Legislature

   and responded to LILAC and NYIC’s 2022 testing report. Again, Defendant Ryder recited the

   affirmative times that Language Line has been used, but he denied being aware of any language

   access complaints. In response to specific incidents referred to in LILAC and NYIC’s report,

   Defendant Ryder concluded “I don’t believe my officers acted that way.”

   144.   143. In its Police Reform EO203 2022 Year End Follow-Up Report, NCPD alleged that it

   began its own language access audits, consisting of four “controlled calls” to an unspecified

   precinct, one in Hindi, one in Punjabi, and two in Spanish.




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   145.   144. Although NCPD contracts with a telephonic interpretation service to facilitate

   communication between it and the public, in practice, officers systemically fail to use this

   resource as the LILAC/NYIC report demonstrates and as Plaintiffs’ experiences demonstrate.

    NCPD’s Internal Affairs Unit Fails to Investigate Claims of Denial of Language Access as
               Part of a Broader Failure to Hold NCPD Officers Accountable.

   146.   145. The NCPD’s Internal Affairs Unit has failed to investigate allegations of denials of

   language access and the NCPD officers who have denied language access to Plaintiffs and others

   have not been disciplined.

   147.   146. As reported last year by Gothamist, over the last six years NCPD’s Internal Affairs

   Unit has never substantiated a civilian complaint against any officer. See Charles Lane, “A

   Screaming Red Flag: Out of 144 Civilian Complaints, Nassau Police Claim Zero Have Any

   Merit,” Gothamist, Oct. 12, 2022.

   148.   147. This wasn’t because officers of the NCPD do not engage in misconduct. To the

   contrary, in at least one case where NCPD’s Internal Affairs Unit found no misconduct, a federal

   judge ruled that the evidence showed the officers “created false police records and made

   demonstrably false statements during the trial, used excessive and improper methods while

   taking these actions against the plaintiff.” Jenkins v. Cnty. of Nassau, 540 F.Supp.3d 310, 313

   (E.D.N.Y. May 18, 2021). The same evidence—if it was obtained by the NCPD—did not result

   in a finding of any misconduct at all.

   149.   148. NCPD’s Internal Affairs Unit is best known for initiating an investigation against a

   New York Police Department officer at the behest of a television personality who believed the


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   officer was sleeping with his wife. See John Cook, “How Bill O’Reilly Tried to Get His Wife’s

   Boyfriend Investigated By the Cops,” Gawker, Aug 30, 2011.

   150.   149. Just this year, the State Attorney General’s Office announced that it was

   investigating two NCPD officers who had conducted an illegal strip search and lied about it in

   federal court. See Charles Lane, “2 Nassau County Detectives Are Being Investigated for

   Misconduct,”

   https://www.wshu.org/long-island-news/2023-04-19/2-nassau-county-detectives-are-being-invest

   igated-for-misconduct, Apr. 19, 2023.

   151.   150. A recent investigation found that NCPD Internal Affairs provides little

   accountability, even in cases where officers caused serious injury or death. See

   https://projects.newsday.com/long-island/inside-internal-affairs/.

   152.   151. Nassau County continues to fight in court to withhold from the public disciplinary

   records and civilian complaint information against its officers, a more restrictive interpretation of

   the repeal of New York’s police secrecy law than nearby departments have imposed. See New

   York Civil Liberties Union v. Nassau County, No. 612605/2021, (Nas. Cty. Sup. Ct. 2021).

   153.   152. Plaintiffs have complained or tried to complain to the NCPD after they were denied

   language access, hoping that the officers would face the consequences of violating department

   policy or that their grievance would result in some positive changes.

   154.   153. Advocates have presented Defendants with specific incidents in which LEP

   individuals were denied language access by NCPD. The NCPD has stated publicly the



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   Department has investigated these complaints and found the officers did nothing wrong. No

   investigators reached out to the individual complainants to take statements as part of these

   so-called investigations.

   155.   154. NCPD has denied the opportunity to file complaints or failed to investigate or make

   findings on Plaintiffs’ complaints about language access. It has done so because NCPD’s actual

   practice is not to follow the Language Access Plan, but instead to allow officers to deny language

   access to LEP individuals with impunity.

   156.   155. Because officers know they will not be disciplined by NCPD’s Internal Affairs Unit

   for failing to provide language access, the provision of such assistance seems to be optional,

   thereby shutting out LEP individuals from access to appropriate police assistance and denying

   them their constitutional rights associated with police encounters.

   157.   156. For any relief to impact NCPD’s actual policies and practices, that relief must be

   directed in part at the Internal Affairs Unit to ensure that NCPD cannot evade its obligations by

   issuing a paper policy that is inadequate and is not enforced.

   Defendants’ True Policy is to Allow Officers to Deny Language Access at Their Discretion

   158.   157. Defendants are aware that a significant portion of the population of Nassau County

   usescomes from Central and South American countries and use Spanish as their primary

   language, and that many people in the county are more comfortable communicating in languages

   other than English.

   159.   158. The Plan is merely a “paper policy” that is not followed in practice.



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   160.   159. For example, the Plan states that Defendant Gregg will “institute measures to

   monitor the success of the plan,” and that the plan will be “reviewed and updated as necessary on

   a semi-annual basis.” Advocates have pointed out failures in the Plan but no changes have been

   made to address these failures.

   161.   160. The Plan states that NCPD will ensure that “all current NCPD members receive a

   copy of the Language Access Plan,” and that “Force Member will review the NCPD Language

   Access Power Point,” but does not indicate that officers will be trained, how often they will be

   trained, or that providing language access is mandatory.

   162.   161. Defendants fail to train officers on their obligation to provide appropriate language

   access to those who need it.

   163.   162. Defendants fail to investigate and discipline officers who do not provide language

   access to LEP individuals.

   164.   163. Defendants fail to screen officers for language proficiency and instead allow officers

   to self-certify as proficient in a foreign language when they are not.

   165.   164. Defendants are aware that a significant number of officers do not provide language

   services to LEP individuals.

   166.   165. Defendants’ failure to train officers in their obligations to provide language access

   demonstrates their deliberate indifference towards their constitutional obligations to provide

   language access to LEP persons.




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   167.      166. Defendants’ failure to discipline officers who have not complied with their

   obligations to provide language access demonstrates their deliberate indifference towards their

   constitutional obligations to provide language access to LEP persons.

   168.      167. The failure to train officers in their obligations to provide language access are the

   moving forces behind Defendants’ collective deprivations of Plaintiffs’ civil rights under color

   of law.

   169.      168. Defendants’ failure to train and failure to discipline noncompliant department

   personnel are the proximate causes for Plaintiffs’ injuries.

                                    CLASS ACTION ALLEGATIONS

   170.      169. Plaintiffs bring this action for declaratory and injunctive relief pursuant to Rules

   23(b)(2) and (b)(3) of the Federal Rules of Civil Procedure, on their behalf and, in the case of

   Individual Plaintiffs E.B., M.C. and V.A., as representatives of the following class of

   individuals: All past, present, and future Limited English Proficient individuals who are, have

   been, or will be at risk of being subject to discriminatory treatment or denials of assistance by

   NCPD because of their national origin and/or LEP status, including but not limited to policies,

   patterns, and practices in violation of law (the “Class”).

   171.      170. Plaintiffs and the Class have suffered personal injury as a direct and proximate result

   of Defendants’ actions herein for which an award of declaratory and injunctive relief is

   appropriate. The named Plaintiffs herein are members of the Class they seek to represent.




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   172.   171. Numerosity: The Class includes hundreds, if not thousands, of individuals.

   Members of the Class are so numerous that joinder is impracticable because, based on

   information and belief, many of the members of the Class are not aware of the fact that their

   constitutional rights have been violated and that they have the right to seek redress in court.

   Many members of the Class are without the means to retain an attorney to represent them in a

   civil rights lawsuit. Moreover, many Class members who have been victimized by Nassau

   County and NCPD’s unconstitutional practices do not bring individual claims for fear of

   retaliation and reprisal by NCPD officers. There is no appropriate avenue for the protection of

   class members’ constitutional rights other than a class action.

   173.   172. Commonality: There are questions of law and fact common to the Class including,

   but not limited to:

          a.      Whether Defendants engage in a policy, practice, and/or custom of intentional

                  discrimination against Limited English Proficient individuals based on their

                  national origin and limited English proficient status;

          b.      Whether Defendants’ failure to properly train, supervise, and investigate the

                  intentionally discriminatory behavior of NCPD police officers, particularly

                  whether it properly investigates and pursues allegations of failure to provide

                  language access, constitutes deliberate indifference to the violations of the

                  Plaintiffs’ and Class members’ rights;

          c.      Whether Nassau County, Commissioner Ryder, Officer John Doe, and Sergeant



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                  Gregg have sanctioned and/or failed to rectify unlawful intentional discrimination

                  against LEP individuals by members of NCPD;

          d.      Whether the Class as a whole is entitled to permanent injunctive relief against

                  Defendants, including, but not limited to, a mandatory injunction;

          e.      Whether the class as a whole is entitled to a declaratory judgement that the acts of

                  Defendants alleged herein and to be provided by the evidence constitute

                  actionable violations of the civil and constitutional rights of each member of the

                  Class; and,

          f.      Whether the Class as a whole is entitled to an award of its attorneys’ fees and

                  litigation costs to be paid by Defendants under 42 U.S.C. § 1988(b).

          g.      These and other questions of law and/or fact are common to the Class and

                  predominate over any questions affecting only individual Class members.

   174.   173. Typicality: The claims of the named Individual Plaintiffs are typical of the claims

   of the Class they seek to represent in that the named Individual Plaintiffs and all members of the

   proposed Class are LEP individuals who were denied translation or interpretation by NCPD,

   which deprived them of equal access to NCPD’s services and/or protection. As a result of

   NCPD’s pattern and practice of denying assistance to LEP individuals, named Individual

   Plaintiffs faced a range of harms that are typical of those faced by the Class, including being

   barred from reporting a crime, seeking legal protection from an abusive partner or landlord,




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   receiving notice of and an opportunity to correct the contents of police reports and criminal

   complaints, and communicating effectively with the police in a wide range of circumstances.

   175.   174. As long as NCPD engages in the policy, practice, and/or custom of discrimination

   against LEP individuals based on their national origin and LEP status, the named Individual

   Plaintiffs, (as well as the communities served by Organizational Plaintiffs CARECEN and

   LILAC), are, and will remain, at high risk of deprivation of access to NCPD’s assistance and

   services. Indeed, the named Plaintiffs have already been directly injured and burdened by

   NCPD’s failure to provide translation or interpretation in a range of sensitive scenarios. The

   proposed Class seeks declaratory and injunctive relief as a result of injuries its members have

   sustained due to Defendants’ conduct. The pursuit of this relief by the Class representatives for

   their injuries and losses will work to benefit the entire proposed Class they seek to represent.

   176.   175. Adequacy of Representation: Individual Plaintiffs will fairly and adequately

   represent and protect the interests of the members of the Class they represent. The named

   Individual Plaintiffs have retained counsel competent and experienced in class action litigation

   and civil rights law. Accordingly, the interests of the Class will be adequately protected and

   advanced. In addition, there is no conflict of interest between the named Plaintiffs and members

   of the Class. The interests of the named Individual Plaintiffs are aligned because members of the

   class have an interest in securing their right to prospective relief preventing future harmful

   conduct by Defendants.

   177.   176. Notice can be provided to Class members by published notice.



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   178.   177. Certification of the Class is appropriate pursuant to Fed. R. Civ. P. 23(b)(2) because

   Defendants have acted in a similar, virtually identical, way against each member of the Class, so

   that final injunctive relief, specifically appropriate mandatory injunctions, with corresponding

   declaratory relief is appropriate respecting the Class as a whole.

   179.   178. Certification of the Class is also appropriate pursuant to Fed. R. Civ. P. 23(b)(3)

   because the questions of law and fact common to the members of the Class predominate over

   any questions affecting only individual members. This class action is superior to other available

   remedies for the fair and efficient adjudication of this controversy.

                                        CLAIMS FOR RELIEF

                                     FIRST CAUSE OF ACTION
                                  Intentional Discrimination Under
                                Title VI of the Civil Rights Act of 1964
                                      42 U.S.C. § 2000(d), et seq.

   180.   179. Plaintiffs reallege and incorporate by reference all allegations in all preceding

   paragraphs.

   181.   180. NCPD is a county agency in receipt of funding from the federal government.

   182.   181. Discrimination based on race or national origin is prohibited by recipients of federal

   financial assistance under 42 U.S.C. § 2000(d), et seq.

   183.   182. Defendants, though their policy, custom or practice, intentionally discriminated

   against Plaintiffs and class members based on their national origins and limited English

   proficient status in violation of Title VI of the Civil Rights Act and its implementing regulations.




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   184.   183. As a direct and proximate result of Defendants’ actions, Plaintiffs have suffered

   injuries and have been deprived of their rights under the civil rights laws.

                                   SECOND CAUSE OF ACTION
                   42 U.S.C. § 1983 – Equal Protection DiscriminationMonell Claim
                                  Fourteenth Amendment Violations

   185.   184. Plaintiffs reallege and incorporate by reference all allegations in all preceding

   paragraphs.

   186.   185. Defendants denied Plaintiffs equal access to the services and protections of the

   NCPD based on their national origins. Such discrimination violates the Equal Protection Clause

   of the Fourteenth Amendment to the United States Constitution.

   187.   186. All Defendants were acting under color of state law when they deprived Plaintiffs of

   their rights to Equal Protection under the Fourteenth Amendment.

   188.   187. Defendants Ryder, Officer Doe, and Sergeant Gregg were acting under color of state

   law when they developed and implemented policies and practices that were the direct and

   proximate causes of the deprivation of Plaintiffs’ Equal Protection rights.

   189.   188. 42 U.S.C § 1983 supplies a right of action to recover for these constitutional

   depravations.

   190.   189. As a direct and proximate result of the above-mentioned acts, Plaintiffs have

   suffered injuries and damages.

                                   THIRD CAUSE OF ACTION
                           42. U.S.C. § 1983 – First Amendment Violation

   190. Plaintiffs reallege and incorporate by reference all allegations in all preceding paragraphs.


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   191. Defendants, through their policy, custom or practice of denying language services to limited

   English proficient individuals, prevented Plaintiffs from petitioning the government for redress

   of grievances and otherwise communicating with police officers from whom they sought

   assistance.

   192. Defendants acted under color of state law to deprive Plaintiffs of their First Amendment

   right to petition the government for redress of grievances.

   193. Defendants Ryder, OFFICER DOE, and Sergeant Gregg were acting under color of state

   law when they developed and implemented policies and practices that were the direct and

   proximate causes of the depravation of Plaintiffs’ rights to petition their government for redress

   of grievances.

   194. 42 U.S.C § 1983 supplies a right of action to recover for these constitutional depravations.

   195. As a direct and proximate result of Defendant’s actions, Plaintiffs suffered injuries.

                                   FOURTH CAUSE OF ACTION

                                   42 U.S.C. § 1983 – Monell Claim

                     First Amendment and Fourteenth Amendment Violations

   196. Plaintiffs reallege and incorporate by reference all allegations in all preceding paragraphs.

   191.   197. The Fourteenth Amendment violations set forth in Plaintiffs’ Second Cause of

   Action and the First Amendment violations set forth in Plaintiff’s Third Cause of Actionabove

   are both the result of the policies and customs of NCPD to fail to provide language access to




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   LEP community members, and therefore provide for liability under Monell v. Dep’t of Soc.

   Servs., 436 U.S. 658, 700-01 (1978).

   192.   198. These failures constitute the policy and customs of NCPD under five separate

   Monell theories—they are the result of decisions by individuals with policymaking authority,

   they are the result of an informal custom, they are the result of NCPD’s failure to train its

   officers, they are the result of NCPD’s failure to supervise its officers, and they are the result of

   NCPD’s failure to screen officers for language proficiency before reporting them as fluent in that

   language.

   Decisions by Policymaking Individuals

   193.   199. Defendant Ryder has final policymaking authority for NCPD and constitutes a

   county policymaker for whom the county is liable for such conduct.

   194.   200. Defendant Officer John Doe has final policymaking authority for the Internal Affairs

   Unit of NCPD and constitutes a county policymaker for whom the county is liable for such

   conduct.

   195.   201. Defendant Gregg has final policymaking authority for the implementation of the

   Language Access Plan for NCPD and constitutes a county policymaker for whom the county is

   liable for such conduct.

   196.   202. Defendants Ryder, Officer John Doe, and Gregg developed and maintained policies,

   procedures, customs and/or practices exhibiting indifference to the constitutional rights of those

   in Nassau County with limited English Proficiency.



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   197.   203. While NCPD issued a “paper policy” setting forth a Language Access Plan,

   Defendants Ryder, Officer John Doe, and Gregg made policy decisions that constituted the real

   NCPD language access policy.

   198.   204. These decisions included decisions by Defendants Ryder and Officer John Doe to

   refrain from investigating complaints of failure to abide by the Language Access Plan.

   199.   205. These decisions also included a decision by Defendant Ryder not to evaluate

   compliance with the Plan by recording the number of times that language access was requested,

   but only recording the number of times it was provided.

   200.   206. These decisions also included decisions by Defendant Gregg not to require officers

   to provide language access, and not to evaluate how often officers were denying language access

   to those who requested or needed it.

   201.   207. As a direct and proximate result of the policy decisions by Defendants Ryder,

   Officer John Doe, and Gregg, NCPD officers regularly fail to provide language access to LEPs in

   Nassau County.

   202.   208. As a direct and proximate result of the policy decisions by Ryder, Defendants

   Officer John Doe, and Gregg, Plaintiffs were denied language access by NCPD, resulting in

   violations of the First and Fourteenth Amendments.




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   Informal Custom

   203.      209. NCPD has developed a persistent, widespread custom and unofficial policy whereby

   officers are free to provide or decline to provide language access to those who request it at their

   individual discretion.

   204.      210. Pursuant to this persistent, widespread custom and unofficial policy, Defendants and

   officers of NCPD denied adequate language access to Plaintiffs and other class members with

   deliberate indifference for their constitutional rights.

   205.      211. This persistent, widespread practice of denying language access to those who

   requested it from NCPD was so pervasive that County officials with policy-making authority

   tacitly authorized the policy, had actual or constructive knowledge of the widespread custom and

   unofficial policy, and failed to do anything to end the unconstitutional custom and unofficial

   policy.

   206.      212. The widespread nature of the practice is evidenced by the findings of the LILAC

   report, and the failure of NCPD to take any remedial action in response to these findings.

   207.      213. Because the NCPD fails to investigate or discipline officers who deny language

   access, as evidenced by named Plaintiffs, its officers know that they are free to refuse to provide

   language access to those who request it, contributing to the widespread informal policy.

   208.      214. By reason of this widespread custom and unofficial policy, Defendants deprived

   Plaintiffs of their First and Fourteenth Amendment rights, in violation of 42 U.S.C. § 1983.

   Failure to Train



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   209.    215. Defendants failed to train officers in their obligation to provide language access to

   those who request or need it.

   210.    216. This failure to train is evident in the Plan itself, which requires that every officer in

   NCPD be provided with the Plan but does not require particularized training in officers’

   obligations to provide language access to those who request or need it.

   211.    217. This failure to train officers in their obligations to provide language access to those

   who request or need it was one of the moving forces behind Defendants' collective deprivations

   of Plaintiffs’ First and Fourteenth Amendment rights under color of law.

   212.    218. NCPD’s failure to train officers in their obligations was made knowingly and with

   reckless indifference to the constitutional rights of individuals with limited English proficiency.

   213.    219. NCPD’s failure to train was made with deliberate indifference to Plaintiffs’

   constitutional rights.

   Failure to Discipline

   214.    220. Acting under color of law and pursuant to official policy, practice, or custom, NCPD

   failed to investigate officers who do not provide language access to those who request or need it.

   215.    221. As set forth above, NCPD Internal Affairs Unit has never substantiated an allegation

   that an officer failed to provide language access.

   216.    222. Plaintiff M.C. made a complaint online to the NCPD Internal Affairs Unit but never

   received any follow up. Plaintiff V.A. also attempted to make a complaint in person on

   numerous occasions but was turned away without assistance.



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   217.   223. This failure to investigate or discipline officers is one of the driving forces in the

   widespread policy of failing to provide language access. Officers who know they will not be

   investigated or held accountable for failing to provide language access believe that they are free

   to provide access or not based on their own whim.

   218.   224. In failing to investigate or discipline officers for failing to provide language access,

   Defendants NCPD and Nassau County were deliberately indifferent to the constitutional rights of

   those with limited English proficiency in Nassau County.

   219.   225. The failure to discipline officers is the direct and proximate cause of the harm

   suffered by Plaintiffs.

   Failure To Screen

   220.   226. Defendants have failed to make reasonable efforts to recruit or hire officers or staff

   who are proficient in languages other than English and who could therefore improve NCPD’s

   ability to provide language access to those who request or need it.

   221.   227. Instead, NCPD allows officers and employees to self-certify their language fluency

   because it is deliberately indifferent to the rights of LEP individuals.

   222.   228. NCPD does not screen officers who claim they are fluent in a language other than

   English to determine whether or not they really are. Instead, NCPD simply counts any officer

   who states he or she is fluent in another language as a bilingual officer.

   223.   229. Combined with the overwhelming racial disparity of NCPD—which is nearly 90%

   white but polices a population that is over 40% non-white—this failure to screen results in fewer



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   officers who are able to speak languages other than English, and therefore lowers compliance

   with even the minimal standards set forth in the Plan.

   224.   230. NCPD’s hiring practices are made in reckless disregard of the rights of LEP

   individuals.

   225.   231. NCPD’s failure to screen hires for language fluency, and its failure to certify that

   those officers who claim they speak a language other than English actually do so, are the direct

   and proximate causes of Plaintiffs’ injuries.

                                FIFTHTHIRD CAUSE OF ACTION
                                  42 U.S.C. § 1983 – Monell Claim
                                    First Amendment Violations

   226.   Plaintiffs reallege and incorporate by reference all allegations in all preceding paragraphs.

   227.   Defendants, through their policy, custom or practice of denying language services to

   limited English proficient individuals, prevented Plaintiffs from petitioning the government for

   redress of grievances and otherwise communicating with police officers from whom they sought

   assistance.

   228.   Defendants acted under color of state law to deprive Plaintiffs of their First Amendment

   right to petition the government for redress of grievances.

   229.   Defendants Ryder, OFFICER DOE, and Sergeant Gregg were acting under color of state

   law when they developed and implemented policies and practices that were the direct and

   proximate causes of the depravation of Plaintiffs’ rights to petition their government for redress

   of grievances.



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   230.   42 U.S.C § 1983 supplies a right of action to recover for these constitutional

   depravations.

   231.   As a direct and proximate result of Defendant’s actions, Plaintiffs suffered injuries.

   232.   The First Amendment violations set forth above are the result of the policies and customs

   of NCPD to willfully fail to provide language access to LEP community members, and, under the

   five theories detailed in Plaintiff’s Second Cause of Action, provide for liability under Monell v.

   Dep’t of Soc. Servs., 436 U.S. 658, 700-01 (1978).

                                 FOURTH CAUSE OF ACTION
                          New York State Constitution, Article I, Section 11
                                         Equal Protection

   233.   232. Plaintiffs repeat and re-allege the foregoing paragraphs as if fully set forth herein.

   234.   233. Defendants denied Plaintiffs equal access to the services and protections of NCPD

   based on their national origins.

   235.   234. Article I, Section 11 of the New York State Constitution provides that “No person

   shall be denied the equal protection of the laws of this state or any subdivision thereof. No

   person shall, because of race, color, creed or religion, be subjected to any discrimination in his or

   her civil rights by any other person or by any firm, corporation, or institution, or by the state or

   any agency or subdivision of the state.”

   236.   235. By failing to require that its officers provide language access to those who request or

   need it, Defendants have denied Plaintiffs and class members equal protection of the laws based

   on their race and national origin.



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   237.   236. Such discrimination violates the Equal Protection Clause of the New York State

   Constitution.

   238.   237. As a direct and proximate result of Defendants’ failures, Plaintiffs have suffered

   injuries and damages.

                                    SIXTHFIFTH CAUSE OF ACTION
                                           28 U.S.C. § 2201
                                         Declaratory Judgment

   239.   238. Plaintiff realleges and incorporates by reference all allegations in all preceding

   paragraphs.

   240.   239. Pursuant to 28 U.S.C. § 2201, Plaintiffs seek a declaratory judgment that NCPD’s

   language access policies, as actually implemented, fail to provide language access to those in

   Nassau County who need or request it.

   241.   240. Pursuant to 28 U.S.C. § 2201, Plaintiffs seek a declaratory judgment that NCPD’s

   language access policies, as actually implemented, violated Plaintiffs’ and class members’ rights

   under the U.S. Constitution, Title VI of the Civil Rights Act of 1964, and the New York State

   Constitution.

                                       PRAYER FOR RELIEF

          Plaintiffs respectfully request that a judgment be entered in their favor and that the Court

   order and award the following relief:




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 A.               Issue a declaratory judgment that the actions, conduct and practices of Defendants

   set forth above violated Plaintiffs’ rights under the U.S. Constitution, Title VI of the Civil Rights

   Act of 1964, and the New York State Constitution;

 B.               Issue an order imposing a federal language access monitor on NCPD to evaluate

   its true compliance with the order of the Court and the requirements that NCPD provide

   language access to LEP individuals as required by federal, state, and local law. The term of the

   federal monitor shall depend on NCPD’s establishing and continuing compliance as determined

   by the monitor and the Court. The monitor shall be selected by the Court at the conclusion of a

   public application process;

 C.               Issue an order imposing a federal Internal Affairs monitor on NCPD to evaluate

   its Internal Affairs Unit and report to the Court any deficiencies that contributed to the

   constitutional violations. The term of the federal Internal Affairs monitor shall depend on

   NCPD’s establishing and continuing compliance as determined by the Internal Affairs monitor

   and the Court. The Internal Affairs monitor shall be selected by the Court at the conclusion of a

   public application process.

 D.               Issue an order requiring NCPD to abide by laws and policies requiring the

   provision of interpreter services or other language access services to those who request or need

   them;

 E.               Issue an order requiring NCPD to refrain from unlawful treatment of LEP and

   foreign-born individuals;



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 F.                  Issue an order that NCPD institute and implement policies and programs with

      respect to the provision of interpreter services and treatment of foreign-born and LEP

      communities that comply with all legal requirements, to be evaluated and reported by the

      language access monitor to the court on a regular basis;

 G.                  Issue an order that NCPD develop and implement a comprehensive language

      access plan and assign a full-time, qualified language access coordinator.

 H.                  Issue an order requiring NCPD to establish a system for tracking and monitoring

      NCPD practices regarding the use of interpreter services, including failures to use interpreter

      services;

 I.                  Issue an order requiring NCPD to institute measures to ensure compliance

      regarding language services, including ongoing documentation of requests for the provision of

      interpreter services and the responses to those requests by NCPD officers.

 J.                  Issue an order requiring NCPD to develop and implement appropriate training for

      members of the NCPD regarding treatment of LEP and foreign-born communities including

      when to provide an interpreter, how to properly work with interpreters, sensitivity training, and

      cultural competence;

 K.                  Issue an order requiring NCPD to develop appropriate supervisory procedures

      regarding the treatment of foreign-born and LEP communities and the provision of interpreter

      services to LEP individuals;




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 L.                 Issue an order requiring NCPD to implement a system of reporting to the

     Plaintiffs and the Court regarding the steps taken to cure the violations of the Plaintiffs’ and

     other LEP individuals’ rights.

M.                  Establish an entity independent of NCPD to review, investigate, and prosecute

     allegations that NCPD officers failed to comply with NCPD policies, including but not limited to

     those regarding the provision of language access.

 N.                 Order Defendants to pay reasonable costs and attorneys’ fees to the Plaintiffs; and

 O.                 Grant any other relief the Court deems just and proper.



     Respectfully submitted this 27th7th day of OctoberMarch, 20232024.

         /s/ Meena Roldán Oberdick                           /s/ Neil A. Steiner
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